                             UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

                                                      )
 IN RE:                                               )       CHAPTER 11
                                                      )
             REO HOLDINGS, LLC,                       )       CASE NO. 16-03349
                                                      )
                   DEBTOR.                            )      JUDGE MASHBURN
                                                      )

   THIRD INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
          REIMBURSEMENT OF EXPENSES OF MANIER & HEROD P.C.


             Manier & Herod, P.C. (“Manier & Herod”) hereby submits the Third Interim Application

 for Allowance of Compensation and Reimbursement of Expenses of Manier & Herod P.C. (the

 “Application”) for legal services rendered by Manier & Herod on behalf of the Eva M. Lemeh, the

 Post-Confirmation Distribution Agent under the Modified Chapter 11 Trustee’s Amended Plan of

 Reorganization (the “PCDA”) from February 1, 2018, to August 31, 2018 (the “the Third Period”).

 The Application seeks allowance of fees in the amount of $98,832.50 and reimbursement of

 expenses in the amount of $2,413.14 for a total compensation of $101,245.64. The Application

 requests interim compensation and reimbursement of expenses pursuant to 11 U.S.C. §§ 328, 330

 and 331 and Federal Rule of Bankruptcy Procedure 2016. In support of the Application, Manier

 & Herod, P.C. (“Manier & Herod”) respectfully represents:

                                          BACKGROUND

                    On February 29, 2016 (the “Petition Date”), the Debtor commenced this case by

 filing a voluntary petition for relief under chapter 11 of title 11 of the United States Code, 11

 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

 Western District of Tennessee.

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Case 3:16-bk-03349          Doc 388    Filed 09/26/18 Entered 09/26/18 10:46:33        Desc Main
                                      Document      Page 1 of 6
               On May 9, 2016, the Debtor’s case was transferred to the United States Bankruptcy

 Court for the Middle District of Tennessee (the “Court”).

               On June 8, 2016, the Family Trust Services LLC, Billy Gregory, Steven Reigle,

 Regal Homes Co., and John Sherrod moved for the United States Trustee to appoint a chapter 11

 trustee to administer the Debtor’s case (the “Trustee Motion”). [Dkt Entry No. 74].

               On July 13, 2016, the Court granted the Trustee Motion. [Dkt Entry No. 115].

               On July 28, 2016, the United States Trustee moved to appoint Eva M. Lemeh as the

 Trustee (the “Appointment Motion”). [Dkt Entry No. 124].

               On July 29, 2016, the Court entered an Order granting the Appointment Motion.

 [Dkt Entry No. 128].

               On September 14, 2017, the Court entered the Order Confirming Chapter 11

 Trustee’s Amended Plan of Reorganization and Setting Bar Date for Administrative claims. [Dkt

 Entry No. 345]. On September 29, 2018, the effective date of the Chapter 11 Trustee’s Amended

 Plan of Reorganization, the PCDA was appointed and continues to serve in her capacity. The

 PCDA retained Manier & Herod as her counsel.

               On August 3, 2016, the Trustee filed an Application to Employ Manier & Herod to

 represent the Trustee as Special Counsel pursuant to 11 U.S.C. § 327(a). [Dkt Entry No. 139]. On

 August 29, 2016, the Bankruptcy Court approved the employment of Manier & Herod as special

 counsel to the Trustee in this case (the “Retention Order”). [Dkt Entry No. 167]. The Retention

 Order is attached as Exhibit A.

               Manier & Herod has been instrumental in dealing with the legal issues that have

 arisen in this case, including: (a) evaluating and contesting multiple redemption matters pending

 as adversary proceedings, state court matters, and appeals in the Tennessee Court of Appeals; (b)


                                                 2
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Case 3:16-bk-03349      Doc 388     Filed 09/26/18 Entered 09/26/18 10:46:33           Desc Main
                                   Document      Page 2 of 6
 negotiating various matters on behalf of the Trustee and PCDA; (c) settling, subject to Court

 approval, multiple matters, including the global resolution of almost all of the matters between the

 Debtor, Charles Walker and Family Trust Services, LLC and the other plaintiffs, which involved

 a mediation by former-bankruptcy judge William Houston Brown; (d) filing and confirming an

 amended plan of reorganization on behalf of the Trustee (the “Plan”); (e) filing over twenty

 complaints to quiet title in various Tennessee state courts; (f) resolving these quiet title complaints

 in order to allow the sale of such properties; and (g) preparing documents necessary to effectuate

 the sales of properties pursuant to the Plan.

                           PROFESSIONAL SERVICES RENDERED

                Manier & Herod has acted as counsel to the PCDA in this matter and during the

  Third Period has been involved with several aspects of the case including, but not limited to,

  successfully litigating matters before the Chancery Court for Davidson County, Tennessee and

  the Tennessee Court of Appeals, and the United States Bankruptcy Court for the Eastern District

  of Tennessee, evaluating numerous pending pieces of litigation, settling matters on behalf of the

  PCDA, preparing documentation necessary to effectuate sales of properties under the Plan,

  evaluating issues regarding distributions under the Plan, and modifying the Plan.

                The Application seeks an interim allowance of one hundred percent (100%) fees

 and expenses in the total amount of $98,832.50 for the Third Period. Annexed hereto as Exhibit

 B is a list of all professionals and paraprofessionals working on matters relating to this case during

 the Third Period, each professional and paraprofessional's name, title, hourly rate, the number of

 hours worked by each and the total compensation requested for each person’s work during the

 Third Period. Each professional and paraprofessional’s hourly rate is the standard hourly rate

 charged by that person for work performed for firm clients.


                                                   3
 1339933.1


Case 3:16-bk-03349        Doc 388     Filed 09/26/18 Entered 09/26/18 10:46:33              Desc Main
                                     Document      Page 3 of 6
                    During the Third Period, Manier & Herod’s attorneys and paralegals worked 362.60

 hours on the matters related to this bankruptcy case. Annexed hereto as Exhibit C is Manier &

 Herod’s detailed, computerized invoicing for the work billed during the Third Period. These bills

 are divided by “project codes” that group time entries by subject area. This bill identifies each

 specific item of work in that project category, the person performing that work, the time spent, and

 the proposed charge for each item. At the end of the invoicing (p. 54 of Exhibit C) is a summary

 of the total amount of time and requested compensation for each professional or paraprofessional

 performing work on that matter during the Third Period, as well as a statement of the total

 requested compensation for work on that matter.

                    Each of the “project codes” used by Manier & Herod during the Third Period is

 described below. Because the services provided by Manier & Herod are set forth in detail in

 Exhibit C hereto, the following presentation is not intended to be a statement of all professional

 services rendered during the Third Period, but simply describes generally the types of services

 included in each of Manier Herod’s project codes during the period.

             The project codes in Exhibit C are delineated as follows:

                    a.     Case Administration (CODE B110, $10,677.50). This category reflects
                    time spent on matters related to this case that do not fall within any other project
                    code. These entries include, but are not limited to, the monthly operating reports
                    and correspondence regarding the Debtor’s operations, settlement negotiations and
                    excess proceeds claims.

                    b.      Fee/Employment Application (CODE B160, $2,620.00). This category
                    reflects time spent regarding preparation of applications for fees and employment,
                    including the fee application of Manier & Herod.

                    c.     Other Contested Matters (CODE B190, $54,412.50). This category reflects
                    time spent on appeals of litigation involving 3911 Dodson Chapel Road, Unit 6 and
                    725 Heritage Drive and Basswood Drive; litigation pending in the Chancery Court
                    for Davidson County, Tennessee regarding 106 North 7th Street and 102 Colt Court
                    and an adversary proceeding pending in the United States Bankruptcy Court for the
                    Eastern District of Tennessee concerning Mitchell Avenue.

                                                     4
 1339933.1


Case 3:16-bk-03349           Doc 388     Filed 09/26/18 Entered 09/26/18 10:46:33            Desc Main
                                        Document      Page 4 of 6
                 d.       Real Estate (CODE B250, $28,885.00). This category reflects time spent on
                 litigation and matters related to the sale of real estate, including sales of properties
                 in Hamilton County, Tennessee and Davidson County, Tennessee, and related quiet
                 title matters.

                 e.    Plan (CODE B320, $2,237.50). This category reflects time spent on
                 modifying the Plan.

                 A computerized printout of Manier & Herod's disbursements necessarily incurred

 in the performance of Manier & Herod's duties as counsel to the PCDA is included on page 54 of

 Exhibit C. Charges for specific expenses included in this exhibit are as follows: Travel (1/2 time

 recorded); in-house copies charged at $.25 per page; computerized research and fees for PACER

 services at cost; telecopier charges at $1.00 per page for outgoing faxes only; postage and other

 expenses at cost. Each of the charges set forth above reflect Manier & Herod's standard rates. The

 expenses for which reimbursement is sought in this Application total $2,413.14.

                                          CERTIFICATION

                 Manier & Herod has obtained the approval of the PCDA to submit this Application.

                                           CONCLUSION

                 Manier & Herod has necessarily and properly expended 362.60 hours of service in

 performance of its duties as counsel to the PCDA during the Third Period. Manier & Herod

 respectfully requests an interim fee award for professional services rendered in the amount of

 $98,832.50. Manier & Herod has also necessarily incurred total expenses in the amount of

 $2,413.14 in the performance of Manier & Herod's duties as counsel for the PCDA during the

 Third Period.     Manier & Herod seeks immediate reimbursement for 100% of fees and

 disbursements in the total amount of $101,245.64.




                                                    5
 1339933.1


Case 3:16-bk-03349        Doc 388      Filed 09/26/18 Entered 09/26/18 10:46:33              Desc Main
                                      Document      Page 5 of 6
                                              Respectfully submitted,

                                              MANIER & HEROD, P.C.

                                              /s/ Robert W. Miller
                                              Michael E. Collins (Tenn. BPR #16036)
                                              Robert W. Miller (Tenn. BPR # 31918)
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                                              Nashville, TN 37203
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                                              mcollins@manierherod.com


                                              Counsel for the Post-Confirmation
                                              Distribution Agent




                                 CERTIFICATE OF SERVICE

         I hereby certify that, on September 26, 2018, a true and correct copy of the foregoing was
 served via the ECF system and upon the parties on the attached mailing matrix via United States
 Mail, first class, postage prepaid:

                                              /s/ Robert W. Miller
                                              Robert W. Miller




                                                 6
 1339933.1


Case 3:16-bk-03349       Doc 388     Filed 09/26/18 Entered 09/26/18 10:46:33           Desc Main
                                    Document      Page 6 of 6
